Case 2:20-cr-00014-JRS-CMM Document 15 Filed 10/29/20 Page 1 of 3 PagelD #: 36

UNITED STATES DISTRICT COURT MILER
SOUTHERN DISTRICT OF INDIANA
TERRE HAUTE DIVISION OCT 29 van
a a. CHERRIES cir FICE
UNITED STATES OF AMERICA, EVANSVILLE. ores
Plaintiff, )
) “
Vv. ) Cause No. 2:20-cr- 4- SKS -CHW
)
DRAKE BEST, )
)
Defendant. )
INDICTMENT
COUNT ONE

(Possession of a Firearm by a Prohibited Person)
18 U.S.C. § 922(g)(1)

The Grand Jury charges that:
On or about July 31, 2020, within the Southern District of Indiana, Terre Haute Division,

the defendant,
DRAKE BEST,

having knowingly been convicted of one or more felony crimes punishable by imprisonment for a
term exceeding one (1) year, to wit:
a. Theft Where Valuc of Property is between $750 and $50,000 as a Level 6 felony in
Marion County Indiana under cause number 49G09-1911-F6-043210, on or about
March 17, 2020;
b. Fraud as a Level 6 felony in Hendricks County Indiana under cause number 32D05-
1905-F6-000521, on or about July 11, 2019;
c. Dealing in a Schedule II Controlled Substance as a Level 6 felony in Putnam County

Indiana under cause number 67C01-1805-F5-000117, on or about October 25, 2018;

 
Case 2:20-cr-00014-JRS-CMM Document 15 Filed 10/29/20 Page 2 of 3 PagelD #: 37

did knowingly possess in and affecting commerce a firearm, to wit: a .22 caliber, American
Tactical Industries, 1911, semi-automatic handgun.

In violation of Title 18, United States Code, Section 922(g)(1).

COUNT TWO
(Possession of a Firearm by a Prohibited Person)
18 U.S.C, § 922(g)(1)
The Grand Jury charges that:
On or about May 16, 2019, within the Southern District of Indiana, the defendant,
DRAKE BEST,
having knowingly been convicted of one or more felony crimes punishable by imprisonment for a
term exceeding one (1) year, to wit:
d. Theft Where Value of Property is between $750 and $50,000 as a Level 6 felony in
Marion County Indiana under cause number 49G09-1911-F6-043210, on or about
March 17, 2020;
e. Fraud as a Level 6 felony in Hendricks County Indiana under cause number 32D05-
1905-F6-000521, on or about July 11, 2019;
f. Dealing in a Schedule IJ Controlled Substance as a Level 6 felony in Putnam County
indiana under cause number 67C01-1805-F5-000117, on or about October 25, 2018,

did knowingly possess in and affecting commerce a firearm, to wit: a Taurus, M44 revolver.

In violation of Title 18, United States Code, Section 922(g)(1).

 

 
Case 2:20-cr-00014-JRS-CMM Document 15 Filed 10/29/20 Page 3 of 3 PagelD #: 38

A TRUE BILL:

 

JOSH J. MINKLER
UNITED STATES ATTORNEY

   
  

Amahda Kester
Assistant United States Attorney

   
